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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


     IN RE: JOHNSON & JOHNSON
     TALCUM POWDER PRODUCTS                  Case No. 3:16-md-2738-MAS-RLS
     MARKETING, SALES PRACTICES
                                             MDL Case No. 2738
     AND PRODUCTS LIABILITY
     LITIGATION                              Motion Day: March 20, 2024




       DEFENDANTS JOHNSON & JOHNSON AND LTL MANAGEMENT
      LLC’S RESPONSE TO THE PLAINTIFFS’ STEERING COMMITTEE’S
     SUPPLEMENTAL BRIEF IN SUPPORT OF THEIR MOTION TO QUASH
      OR FOR PROTECTIVE ORDER REGARDING SUBPOENA DIRECTED
                           AT KCIC, LLC
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          Defendants Johnson & Johnson and LTL Management, LLC (collectively,

    “J&J”) submit this Response to Plaintiffs’ Steering Committee’s (“PSC”)

    Supplemental Brief (“PSC Supp. Br.”) in Support of their Motion to Quash or for

    Protective Order Regarding Subpoena served by Defendants on non-party KCIC,

    LLC on December 19, 2023.

                                    INTRODUCTION

          Under New Jersey law, the mediation privilege applies to a “mediation

    communication.” N.J.S.A. § 2A:23C-4. A “mediation communication” is defined

    as “a statement … that occurs during a mediation or is made for purposes of

    considering, conducting, participating in, initiating, continuing, or reconvening

    mediation or retaining a mediator.” Id. § 2A:23C-2. Thus, there must be a genuine

    nexus between the statement and mediation. Statements made independent of

    mediation do not become privileged simply because they are repeated in connection

    with a mediation: “Evidence or information that is otherwise admissible or subject

    to discovery shall not become inadmissible or protected from discovery solely by

    reason of its disclosure or use in a mediation.” Id. § 2A:23C-4(c); see also N.J.R.E.

    519 (restating N.J.S.A. §§ 2A:23C-4–C-8).

          The PSC’s brief does not cite this statute even once. And it misunderstands

    this mediation privilege in two crucial respects.




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          First, the PSC confuses temporal proximity to mediation with privilege. A

    statement is not privileged simply because it was made while a mediation was

    contemplated or pending. To come within the privilege, the statement must be made

    (as relevant here) for purposes of mediation. N.J.S.A. § 2A:23C-2. In other words,

    timing alone is not enough to trigger the privilege. Thus, the PSC’s argument that

    “[t]he majority” of the communications on its privilege log are covered by New

    Jersey’s mediation privilege simply because they are dated after the LTL-2

    mediation order is legally incorrect. PSC Supp. Br. 3–4.

          Second, a statement that was made independent of mediation does not

    suddenly become privileged merely because it was repeated in the context of, or

    refers to, mediation. See N.J.S.A. § 2A:23C-4(c). That is, “documents which

    otherwise exist, or existed independent of the mediation are not subject to this

    privilege.” N.J. Dep’t of Env’t Prot. v. Am. Thermoplastics Corp., 2017 WL 498710,

    at *3 (D.N.J. Feb. 7, 2017) (federal mediation privilege) (alterations and quotations

    omitted). If the rule were otherwise, a party could launder discoverable statements

    through a mediation to invoke the privilege.

          Thus, contrary to the PSC’s argument, documents and analyses that were

    created before mediation are not privileged simply because they were “shared,” PSC

    Supp. Br. 4–7, while a mediation order was pending. Yet the PSC admits that many

    of the documents it attempts to shield exist independent of mediation—for example,

                                             2
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    “[c]ertain ovarian cancer claim-related documents provided … to Legacy [that] had

    been previously prepared by TCC ovarian counsel for other purposes during the

    LTL-proceeding and litigation outside bankruptcy.” Parfitt Decl. ¶ 7 (emphasis

    added), Dkt. 29595-1.

          In the face of these requirements, very few of the communications on the

    PSC’s privilege log are immune from discovery.

                                      ARGUMENT
          A.    Statements That Coincide With Mediation Are Not Automatically
                Covered By New Jersey’s Mediation Privilege
          The PSC’s brief asserts, with no analysis, that “[t]he majority of the

    communications included on [its] privilege log are” covered by New Jersey’s

    mediation privilege simply because they are “dated after the entry of the May 8,

    2023 LTL-2 Mediation order and before the bankruptcy court’s August 11, 2023

    dismissal of LTL-2.” PSC Supp. Br. 3–4. Put differently, the PSC asserts that the

    majority of the communications on its privilege log are privileged simply because

    they coincide with mediation. That is not the law.

          As established above, New Jersey’s mediation privilege applies only to a

    “mediation communication,” N.J.S.A. § 2A:23C-4, and a mediation communication

    is defined to mean a statement made during a mediation or for purposes of

    mediation, id. § 2A:23C-2. Under that definition, statements that happen to coincide

    with a mediation are not privileged, contrary to the PSC’s assumption. Rather, the

                                             3
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    PSC must prove a genuine nexus to mediation which, for the majority of the

    communications on its privilege log, it has not done.1

           B.     The Justifications Offered By The PSC Do Not Support The
                  Application Of The Mediation Privilege To Most Statements Pre-
                  And Post-Dating Mediation
           The remainder of the communications over which the PSC claims privilege

    do not appear to come within the scope of New Jersey’s statute. The PSC is using

    the mediation privilege to shield otherwise discoverable information—information

    that was created before, and independent of, any mediation. See, e.g., Parfitt Decl.

    ¶ 7. And the PSC erroneously suggests that entire communications are privileged,

    even when they contain non-privileged statements. 2

           PSC Privilege Log, Doc. Nos. 16, 283, 366. According to the PSC, “[t]hese

    e-mails reference TCC ovarian counsels’ ovarian cancer estimation presentation

    which had been prepared during the pendency of LTL-1 for the court-appointed

    estimator.” PSC Supp. Br. at 5. While any statements in the cover email made for

    purposes of mediation may be covered, any attachments or description of the

    estimation presentation would not be. As the PSC admits, that presentation predated

    mediation efforts in LTL-2 and was made for purposes of litigation—specifically,



    1
      Several of the documents during this period, moreover, are simply “draft email[s] to J&J
    regarding possible meeting to discuss LTL proposal,” with no apparent connection to mediation at
    all. See Priv. Log. Entries 5, 57, 95, 137, 145, 200, 250, 338.
    2
      Based on the PSC’s description, it appears that documents No. 257, 94, 220, 224, 262, and 412—
    the first two bullets in the PSC’s brief—are privileged.
                                                   4
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    claims estimation under Bankruptcy Code § 502(c), 11 U.S.C. § 502(c). Statements

    made for purposes of litigation do not become privileged merely because they are

    repeated while a mediation is pending. Supra at 2; N.J.S.A. § 2A:23C-4(c); see also,

    e.g., Wimsatt v. Superior Court, 152 Cal. App. 4th 137, 161 (2007) (construing

    similarly-worded statute and explaining “that the contents of any purported

    conversation are not automatically confidential simply because they are referred to

    in the protected confidential mediation brief and the protected emails”); In re RDM

    Sports Grp., Inc., 277 B.R. 415, 431 (Bankr. N.D. Ga. 2002) (“[T]he mediation

    privilege does not apply to shelter from disclosure documents prepared prior to the

    mediation, merely because those documents were presented to the mediator during

    the course of the mediation.”) (federal mediation privilege).

          PSC Privilege Log, Doc. Nos. 109, 410. The same analysis applies to

    documents 109 and 410. “These are copies of the TCC ovarian cancer counsels’

    ovarian cancer estimation presentation which had been prepared during the

    pendency of LTL-1 for the court-appointed estimator.” PSC Supp. Br. 5. By the

    PSC’s own admission, this presentation was made for purposes of litigation (claims

    estimation under the Bankruptcy Code), not mediation. It did not become privileged

    merely because it “was shared” for the purpose of mediation. Id.

          PSC Privilege Log, Doc. Nos. 198, 274, 347, 361. According to the PSC,

    “these e-mails reference TCC ovarian cancer counsels’ ovarian cancer memorandum

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    regarding ovarian cancer injuries and damages.” PSC Supp. Br. at 6. The PSC does

    not claim that the memo itself was created for purposes of mediation. Instead, it

    says that “[t]his information was shared … for the purpose of” mediation. Id. Again,

    sharing information that was created for non-mediation purposes (like the memo

    here) does not make it privileged. What matters is whether the statement was made

    for the purpose of mediation, N.J.S.A. § 2A:23C-2, and the PSC does not argue that

    the memo or its contents satisfy that standard.

          PSC Privilege Log, Doc. Nos. 127, 165, 166, 191, 321. According to the

    PSC, “[t]hese are copies of the memorandum prepared by TCC ovarian cancer

    counsel for Legacy regarding ovarian cancer injuries and damages.” PSC Supp. Br.

    6. The PSC does not claim that it created the memo for purposes of mediation. That

    is dispositive. Moreover, to the extent the information contained in the memo exists

    independently of mediation—e.g., was compiled for other any other purpose—New

    Jersey’s mediation privilege also would not apply.

          PSC Privilege Log, Doc. Nos. 29, 37. According to the PSC, “these e-mails

    reference TCC ovarian cancer counsels’ ovarian cancer ‘methodology’

    presentation.” PSC Supp. Br. 6–7. The PSC does not claim that the presentation

    “was made for purposes of considering, conducting,” or otherwise furthering

    mediation, N.J.S.A. § 2A:23C-2, so any information from that memo contained in

    the e-mails would not be covered by New Jersey’s privilege.

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       PSC Privilege Log, Doc. Nos. 39, 124, 329. According to the PSC, “[t]hese

 are copies of TCC ovarian cancer counsels’ ovarian cancer ‘methodology’

 presentation.” PSC Supp. Br. 7. Although that presentation may have been shared

 for purposes of mediation, the PSC does not contend that it was created (or “made”,

 N.J.S.A. § 2A:23C-2) for purposes of mediation. Indeed, the PSC cites paragraph 7

 of the Parfitt Declaration, which makes clear that certain documents were made “for

 other purposes during the LTL-1 proceeding and litigation outside of bankruptcy.”

 Because the presentation is not a “mediation communication,” it is not covered by

 New Jersey’s mediation privilege.

       PSC Privilege Log, Doc. Nos. 1, 3, 6, 10, 21, 30, 51, 60, 67, 87, 90, 92, 107,

 108, 150, 151, 173, 199, 208, 240, 252, 280, 297, 300, 310, 331, 335, 356, 371, 372,

 398, 407, 411. The PSC represents that these documents “comprise an internal email

 string between Legacy and KCIC discussing possible next steps after the entry of

 the LTL-2 Dismissal Order” and “refer back to discussions with TCC ovarian

 counsel during the pendency of LTL-2 regarding . . . claim resolution.” PSC Supp.

 Br. at 8. The PSC does not argue that those “next steps” involve “considering”

 mediation. N.J.S.A. § 2A:23C-2. Instead, it suggests that the documents are covered

 by the mediation privilege because they “refer back to discussions” while the LTL-

 mediation order was pending and therefore would “reveal communications made for

 the purpose” of furthering mediation. PSC Supp. Br. 8.

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       Even taking the PSC’s claim at face value, the entire e-mail string would not

 be covered by the mediation privilege. That privilege would extend only to those

 statements made for purposes of mediation. Any statements that were not made for

 purposes of mediation would not be covered.         See, e.g., Matter of Estate of

 Osguthorpe, 491 P.3d 894, 926 (Utah 2021) (construing Utah’s version of the

 Uniform Mediation Act and holding that trial court should have allowed redacted

 version of affidavit that did not “reflect[] the substance of mediation

 communications”). And merely referring to a recently concluded mediation would

 likewise not satisfy New Jersey’s statutory requirements for protection under the

 mediation privilege. N.J.S.A. § 2A:23C-2; see also, e.g., Clanton v. Nissan N. Am.,

 Inc., 2015 WL 5309457, at *9 (N.J. App. Div. Sept. 10, 2015) (to the extent an expert

 retained for mediation “relies on the facts and data of his or her previous work in

 formulating opinions in the subsequent litigation, those facts and data would be

 discoverable”) (citing N.J.R.E. 519(a)(c)).




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                               CONCLUSION
       For the foregoing reasons, the PSC’s motion should be denied.



 Dated: March 20, 2024              Respectfully submitted,

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